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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ASIA GAINES, for herself and as                  )
next friend of her minor child "JC,"             )
                                                 )
                     Plaintiff,                  )
                                                 )
       vs.                                       )      Case No. 19 C 775
                                                 )
CHICAGO BOARD OF EDUCATION,                      )
KRISTEN HAYNES, and JUANITA TYLER,               )
                                                 )
                     Defendants.                 )


                ORDER REGARDING REMAINING IN LIMINE ISSUES

       The last remaining issue lingering from the previous judge's in limine rulings on

which the parties sought guidance from the Court (see dkt. 393, 394) involves plaintiff's

motion in limine 1. In that motion, plaintiff Asia Gaines sought to bar any argument or

evidence "that defendant Juanita Tyler did not strike JC repeatedly in a washroom at his

school on September 20, 2018 with one or more belts which she had obtained from

defendant Kristin Haynes." See Gaines v. Chi. Bd. of Ed., No. 19 C 775, slip op. at 1

(N.D. Ill. Feb. 15, 2024). Tyler was convicted in state court on a charge of battery

against JC. Gaines argued that this finding, via issue preclusion, should bar the

defendants from relitigating these points.

       Judge Bucklo agreed, but only in part. First, she concluded that issue preclusion

did not apply to defendant Chicago Board of Education, because it was not a party to

the criminal proceeding. Id. at 2. Second, Judge Bucklo concluded that issue

preclusion did not apply to defendant Kristen Haynes, because she was acquitted in the

criminal case. Id. at 3.
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       Regarding defendant Tyler, Judge Bucklo concluded that the threshold

requirements for issue preclusion were met "as to the facts that Tyler struck JC

repeatedly in a washroom at his school on September 20, 2018 with one or more

belts." 1 Id. Judge Bucklo then went on to discuss whether application of issue

preclusion would be inappropriate because it would cause unfairness. Id. The

defendants argued that precluding Tyler from litigating the underlying facts would

unfairly prejudice the Board and Haynes and would confuse the jury. Judge Bucklo

overruled this argument. The Court quotes her reasoning on these points in full:

       Were I to deny plaintiff's motion on grounds of unfairness and potential juror
       confusion, it would permit Tyler to argue the facts already decided against her
       anew and could lead to the anomalous result that, though Tyler was previously
       found beyond a reasonable doubt to have committed the relevant acts, for
       purposes of this trial she could be found not to have committed them simply by a
       preponderance of the evidence. Such a result would stir up significant federalism
       concerns, since Tyler's criminal conviction was in Illinois state court. . . .

       Nor will holding Tyler to her conviction unduly prejudice her codefendants. For
       Haynes to be liable for the acts committed by Tyler, plaintiff must prove additional
       facts to show that she aided and abetted Tyler or conspired with her to commit
       them. And for the Board to be liable, Haynes must be found liable.

       In sum, Tyler has already had her day in court on these issues, and she is not
       entitled to a do-over simply because her codefendants might want to try their
       hand at arguing those issues. Given the problems relitigation would pose, I grant
       the motion in part as to Tyler on the following issues: that Tyler struck JC
       repeatedly in a bathroom at his school on September 20, 2018 with one or more
       belts. The motion is otherwise denied.

Id. at 4-5.

       The main point on which the parties seek guidance involve testimony by Tyler.

Gaines argues that given the conviction and Judge Bucklo's ruling, "Tyler may not




1 Judge Bucklo's issue preclusion determination did not include anything regarding

where Tyler had obtained the belt(s).
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contest during this civil trial that she 'struck JC repeatedly in a washroom at his school

on September 20, 2018 with one or more belts.' Dkt. 364 at 3. As a result, any

testimony she chooses to give cannot contradict these established facts." Pl.'s Status

Report (dkt. 394) at 7. In short, Gaines asks the Court to impose a restriction on the

content of testimony by Tyler. Defendants argue that this would amount to a

determination that they, too, are bound by issue preclusion—which would be contrary to

Judge Bucklo's ruling and would unfairly prejudice them.

         Both sides make valid points, and there is no perfect resolution given the fact that

this is a multiple-defendant case in which issue preclusion applies to one defendant but

not the others. (The Court notes that no timely request for bifurcation of the trial or

severance of parties was made by either side following Judge Bucklo's February 2024

ruling, so that possibility was long ago forfeited.) The Court has done its level best to

come up with a solution that does not allow Tyler to avoid the effects of issue preclusion

but does not effectively impose it upon other defendants to which it has been held not to

apply.

         The Court rules as follows:

   •     The Court will not impose an advance restriction on what Tyler may or may not

         say during her testimony.

   •     That said, Tyler's counsel may not elicit testimony from Tyler that is contrary to the

         finding of guilt and the points that Judge Bucklo found are precluded by the guilty

         finding. Doing so would directly contradict Judge Bucklo's issue preclusion ruling.

   •     If, in response to questions posed by other counsel, Tyler offers testimony that is

         contrary to the finding of guilt or Judge Bucklo's issue preclusion ruling, the Court


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    will instruct the jury at that moment that Tyler was found guilty of domestic battery

    after a trial and that this determination is binding upon her in the present case. In

    doing so, the Court will quote (or paraphrase) the determination made by Judge

    Bucklo regarding what facts are deemed precluded—as described above.

•   This instruction will be given each and every time that Tyler offers testimony that is

    contrary to the finding of guilt or the matters that Judge Bucklo found are binding

    upon Tyler. Repetitive questioning of Tyler on these points by any party will be

    precluded pursuant to Rule 403, to avoid the needless presentation of cumulative

    evidence, needless repetition of the Court's limiting instruction, and the danger of

    jury confusion. In addition, the Court directs the defendants to coordinate with

    each other with an eye toward having only one defense counsel question Tyler

    regarding these matters.

•   The Court precludes any and all evidence or argument that attempts to undercut,

    minimize, or "explain" the guilty finding against Tyler in the criminal case. Among

    other things, there will be no questioning, testimony, or argument regarding what

    testimony and other evidence was or was not presented to the factfinder in the

    criminal trial.

•   The charging and acquittal of Haynes in the criminal case have no issue

    preclusive or claim preclusive effect, largely due to differences in the burden of

    persuasion. Evidence regarding these points is irrelevant, and even if relevant it

    has, at most, minuscule probative value that is overwhelmingly outweighed by the

    potential for jury confusion were such evidence to be offered at the trial in this

    case. The Court precludes any and all evidence and argument on these points.


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   •   If requested, the Court will also give during the final jury instructions an instruction

       regarding the application of issue preclusion as to defendant Tyler.

       Counsel are expected to instruct their clients and witnesses accordingly. The

Court will not hesitate to declare a mistrial and impose other appropriate sanctions upon

counsel and/or the parties and witnesses if any aspect of this order is violated.

       This ruling resolves the evidentiary issues identified by the parties in their

respective status reports. Defendants' status report also raises a question regarding

what elements of what claims are established by the precluded facts, see dkt. no. 393 at

3, and says that the elements of the battery claim in this case differ from the elements of

criminal battery. The latter point is not explained at all, so it has been forfeited as a

matter to be determined before trial. This point will be addressed as necessary in the

final instructions to the jury. As far as what exactly Judge Bucklo found to be precluded,

that is quite clear from her written ruling—it's in the passage quoted above—so there is

no room for doubt on that point and no legitimate need for clarification.

Date: September 3, 2024

                                                  ________________________________
                                                       MATTHEW F. KENNELLY
                                                       United States District Judge




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